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 4   Facsimile: 949-251-1181
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 5

 6
     Attorneys for Defendant GEORGE MACARTHUR POSEY IV

 7
                           UNITED STATES DISTRICT COURT
 8
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
                                  SOUTHERN DIVISION
10

11
     UNITED STATES OF AMERICA,  ) Case No.: 8:20-cr-00144-DOC
12
                                )
               Plaintiff,       )
13
                                ) UNOPPOSED APPLICATION FOR
          vs.                   ) ORDER PERMITTING
14
                                ) DEFENDANT TO LEAVE RRC AND
     GEORGE MACARTHUR POSEY IV, ) SPEND THE HOLIDAYS WITH
15
                                ) FAMILY; DECLARATION OF
     Defendant                  ) KATHERINE CORRIGAN
16
                                )
     DEFENDANT HEREBY APPLIES TO THE COURT FOR AN ORDER
17
     TO PERMIT DEFENDANT TO LEAVE RRC FOR THANKSGIVING
18
     AND CHRISTMAS HOLIDAYS:
19
           Katherine Corrigan, in her capacity as counsel of record for the above-named
20
     Defendant; hereby bases this application on the following:
21
           1. The Defendant was sentenced by this Court to credit for time served, and as
22
              a condition of his supervised release to reside at an RRC (as directed by
23
              probation) for a period of 8 months, with the opportunity to seek a
24
              termination of the RRC commitment after a 4-month period. Defendant is
25


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                                   REQUEST FOR COURT ORDER
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 1            scheduled for a progress review on March 11, 2014 at 7:30 a.m. to address
 2            this issue.
 3         2. During the sentencing hearing, defense counsel inquired whether the Court
 4            would consider permitting Defendant to leave the RRC (due to his young
 5            family) for the Thanksgiving and Christmas holidays. The Court responded
 6            in the affirmative.
 7         3. Defendant and his wife have 2 young children, and plan to have family
 8            congregate for the holidays locally. The holidays are an important time for
 9            their family. Grandparents and other members of their respective families
10            will be with the Defendant and his family.
11         4. The Defendant is requesting to be excused from the RRC for the period of
12            Wednesday, November 22, 2023 through Sunday, November 26, 2023,
13            returning the RRC the morning of November 27, 2023.
14         5. The Defendant is requesting to be excused from the RRC for the period of
15            Saturday, December 23, 2023 through December 26, 2023, returning to the
16            RRC the morning of December 27, 2023.
17         6. The government has no objection to the request.
18

19

20
     DATED: 11/13/2023                ________/s/______________________
                                      Katherine Corrigan,
21                                    Attorney for Defendant
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 1                    DECLARATION OF KATHERINE CORRIGAN
 2

 3
     I, Katherine Corrigan, declare as follows:

 4    1.     I am an attorney at law, duly licensed to practice law in the State of California
 5
           and in the United States District Court for the Central District of California, and I
 6
           am counsel for Defendant in this action.
 7
      2.     The Defendant has been sentenced in this case to credit for time served,
 8

 9         followed by 3 years supervised release. A condition of supervised release is that
10
           Defendant reside in an RRC (as directed by probation) for a period of 8 months.
11
           The court has also scheduled a progress review on March 11, 2024 at 7:30 a.m.
12
           At that time, the Court will determine whether Defendant’s RRC commitment
13

14         should be reduced to a period of 4 months.
15    3.     The Defendant has reported to probation and will be entering the RRC prior to
16
           the holidays. I met with his on the 4th floor of the courthouse last week prior to
17
           his meeting with probation.
18

19    4.     During the sentencing hearing, I asked the Court whether the Court would

20         consider permitting Defendant to leave the RRC for the Thanksgiving and
21
           Christmas holidays so that he could spend that time with his 2 small children,
22
           wife, and extended family. The Court indicated that it would permit Defendant to
23

24         do so.

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                                                  -3-

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 1       5. I have communicated with AUSA Varun Behl and he has no objection to the
 2
      Defendant’s requested leaves from the RRC for the purpose of spending the holidays
 3
      with his young children, his wife and family members.
 4

 5

 6    I declare under penalty of perjury that the foregoing facts are true and correct to the
 7
      best of my knowledge.
 8
     DATED: November 13, 2023
 9

10   _______/s/______________
     Katherine Corrigan
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                                                 -4-

                                    REQUEST FOR COURT ORDER
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 1   CERTIFICATE OF SERVICE
 2
     I, Katherine Corrigan, declare:
 3
           That I am a citizen of the United States and resident or employed in Orange
 4

 5   County, California; that my business address is Corrigan Welbourn & Stokke, A

 6   Professional Law Corporation, 4100 Newport Place, Suite 550, Newport Beach,
 7
     California 92660; that I am over the age of eighteen years, and am not a party to the
 8
     above-entitled action;
 9

10          That I am an attorney and am a member of the bar of the State of California
     and am a member of the bar of the United States District Court for the Central
11   District of California, and that on TODAY’S DATE, I caused to be emailed or faxed
     a true and correct copy of:
12

13
     UNOPPOSED APPLICATION FOR ORDER TO RETURN PASSPORT TO
     DEFENDANT; DECLARATION OF KATHERINE CORRIGAN
14
     ADDRESSED TO:

15   AUSA Varun Behl           via email Varun.Behl@usdoj.gov
     United States Attorney’s Office
16

17   USPO Tammy Van            via email: Tammy_Van@cacp.uscourts.gov
     United States Probation and Pretrial Services
18   411 West 4th St.
19
     Santa Ana, CA 92701

20

21
           I certify under penalty of perjury that the foregoing is true and correct.
22
     DATED: November 13, 2023                         _/s/_______________
23                                                    Katherine Corrigan
24

25


                                                -5-

                                   REQUEST FOR COURT ORDER
